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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS

 ALEXANDER REENTS, on behalf of                             :
 himself and others similarly situated,                     :   CIVIL ACTION FILE NO. 23-cv-14917
                                                            :
               Plaintiff,                                   :   Honorable Martha M. Pacold
                                                            :
 v.                                                         :
                                                            :
 PUBLIC WIRELESS LLC                                        :
                                                            :
               Defendant.                                   :
                                                            :
                                                            :
                                                        /


                                   UPDATED JOINT STATUS REPORT

      Plaintiff Alexander Reents (hereinafter referred to as “Plaintiff”) and defendant Public

Wireless LLC (“Public Wireless”), individually and on behalf of all others similarly situated

submits the attached report.


           1.         The Nature of the Case: The nature of the case is unchanged from the prior Joint

Status Report [Doc. 11].

           2.         Jurisdiction: There is no change to the basis for jurisdiction from the prior

Joint Status Report.

           3.         Status of Service: The defendant has been served.

           4.         Motions: There are no pending motions. An answer has been filed.

           5.         Discovery Deadline and Update: The Court adopted the parties’ joint scheduling

 plan on December 14, 2023 [Doc. 12] and set a June 28, 2024 deadline for fact discovery. The

 parties have provided discovery responses and the Defendant has supplemented their responses

 multiple times as well as provided rolling productions. The parties have also received subpoena


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 responses from third parties. The parties are setting depositions in May and June of 2024, and

 depending on those depositions may seek an extension of the current discovery deadline.

           6.   Status of Settlement Discussions: Plaintiff desires additional class discovery before

engaging in settlement discussions. Given that both parties are not ready to proceed, and per the

court’s prior comments, the parties are not presently requesting a settlement conference.


                                              PLAINTIFF,
                                              By his attorneys

                                              /s/ Anthony I. Paronich
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                                              DEFENDANT,
                                              By its attorneys:

                                              /s/ Laura E. Schrick
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Dated: April 27, 2024




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